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IN THE uNITED STATES DISTRICT coURT ""' D-C.
FOR THE wESTERN DISTRICT oF TENNESSEE USJUL l
wESTERN DIvIsIoN l PH h:l,

SEDLEY ALLEY,
Petitioner,

v. No. 97-3159-D/V

RICKY BELL,

Respondent.

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ORDER DIRECTING PETITIONER TO REPLY

 

Petitioner has filed a second amended. motion requesting
relief from judgment, as well as motions seeking discovery and a
status conference. Respondent has answered, arguing that the
Supreme Court's recent decision in Gonzalez v. Crosby, No. 04-6432,
slip op. (June 23, 2005)forecloses the availability of Rule 60(b)
relief from judgment for Petitioner, entitling the Respondent to
summary disposition, and therefore renders a status conference
unnecessary. The Court finds that its jurisdiction to consider the
merits of Petitioner’s request for relief from judgment rests upon
an initial determination of whether Petitioner's motion is a “true”
Rule 60(b) motion for relief or a prohibited second or successive
habeas application. To that end, the Court orders that Petitioner
reply to Respondent’s Response In Opposition to Petitioner's Motion
For Relief From Judgment, specifically addressing whether the
Supreme Court’s decision in Gonzalez makes clear that all or any

part of Petitioner’s motion for relief is, in effect, a prohibit-»`

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second or successive habeas application, or whether the Court may
proceed to consider the merits of Petitioner's motion for relief.

IT IS THEREFORE ORDERED that Petitioner submit his reply by
July 26, 2005.

IT Is so oRDERED this // day of July, 2005.

 

TED STATES DISTRICT JUDGE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 163 in
case 2:97-CV-03159 Was distributed by faX, mail, or direct printing on
July 13, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

